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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND


   UNITED STATES OF AMERICA
                Plaintiff(s)                    *

                    v.                          *              Civil Case No.: GLR-16-810

J.A. SUBWAY, INC. and
JAMIU LAWAL                                     *

                                                *
                         Defendant(s)
                                            ******


                                    ORDER OF DEFAULT

   It appearing from the records that the summons and Complaint were properly served upon

the above named Defendants on      May 3   , 20 16 . The time for the Defendants to obtain

counsel or otherwise defend expired on May 24 , 20 16 and that said Defendants have failed

to plead or otherwise defend as directed in said summons and as provided by the Federal Rules

of Civil Procedure.

   Therefore, upon the request of the Plaintiff, and pursuant to Rule 55 of the Federal Rules of

Civil Procedure, it is

   ORDERED, that the default for want of answer or other defense by said Defendant is

entered this   22nd       day of   June       , 20 16      .

                                                    FELICIA C. CANNON, CLERK

                                            By:                     /s/
                                                    K. A. Moye’
                                                    Deputy Clerk
